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  1
                        UNITED STATES OF AMERICA
  2                UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
  3                           -    -   -
  4                HONORABLE CHARLENE EDWARDS HONEYWELL
                   UNITED STATES DISTRICT JUDGE PRESIDING
  5
  6    UNITED STATES OF AMERICA,                )
                                                )
  7                         PLAINTIFF,          )
                                                )
  8                       VS.                   )8:20-CR-77-CEH-TGW
                                                )
  9    JOSE ISMAEL IRIZARRY,                    )
                                                )
 10                                             )
                             DEFENDANT.         )
 11
 12
                                SENTENCING HEARING
 13                 REPORTER'S TRANSCRIPT OF PROCEEDINGS
                                JUNE 23, 2021
 14                           TAMPA, FLORIDA
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 18
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 20    SHARON A. MILLER, CSR, RPR, CRR, FCRR
       IL CSR 084-2617
 21    FEDERAL OFFICIAL COURT REPORTER
       801 N. FLORIDA AVENUE, SUITE 13A
 22    TAMPA, FLORIDA 33602
 23    Proceeding recorded by stenography,
       transcript produced by computer-aided transcription
 24
 25

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  1    (Court in session at 10:10 a.m.)
  2               THE COURT: We are here in the matter of United
  3      States of America versus Jose Ismael Irizarry, 20-cr-77.
  4      Counsel, please identify yourselves for the record.
  5               MR. PALAZZO: My name is Joseph Palazzo and I am
  6      representing the Government along with my colleague Mark
  7      Irish, and at Counsel table with us is FBI Special Agent
  8      Deven Williams.
  9               THE COURT: Okay. Thank you.
 10               Counsel for the Defendant.
 11               MR. DOMINGUEZ: Good morning. Humberto Dominguez on
 12      behalf of Jose Ismael Irizarry and I am also joined by
 13      Rebecca Castaneda at Counsel table as well.
 14               THE COURT: The other person at counsel table?
 15               MS. CASTANEDA: It's Rebecca Castaneda. I have my
 16      mask on.
 17               THE COURT: Thank you. Yes. I couldn't see you. I
 18      wouldn't have recognized you. Thank you for saying
 19      something.
 20               All right. And the Defendant is present. Madam
 21      Clerk, please place the Defendant under oath.
 22               COURTROOM DEPUTY CLERK: Sir, please rise and raise
 23      your right hand.
 24    (Defendant sworn.)
 25               COURTROOM DEPUTY CLERK: Please state your name for

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  1      the record and spell your last name.
  2               THE DEFENDANT: Jose Irizarry, I-R-I-Z-A, double
  3      R-Y.
  4               COURTROOM DEPUTY CLERK: Thank you. Be seated.
  5               THE COURT: All right, Mr. Irizarry, you are before
  6      the Court this morning, sir, for sentencing based upon a
  7      plea of guilty you entered on September 14th to Counts One
  8      through Nineteen of an indictment which charged you with the
  9      following crimes: In Count One you were charged with
 10      conspiracy to commit money laundering. This is a violation
 11      of Title 18, United States Code, Section 1956H.
 12               In Counts Two through Five you were charged with
 13      honest services wire fraud. This is a violation of Title
 14      18, United States Code, Sections 1343 and 1346.
 15               Count Six charged you with conspiracy to commit bank
 16      fraud. This is a violation of Title 18, United States Code,
 17      Section 1349.
 18               Counts Seven through Twelve charged you with bank
 19      fraud. This is a violation of Title 18, United States Code,
 20      Sections 1344.
 21               Count Thirteen charged you with conspiracy to commit
 22      aggravated identity theft, and this is a violation of Title
 23      18, United States Code, Section 371.
 24               And Counts Fourteen through Nineteen charged you
 25      with aggravated identity theft, again a violation of Title

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  1      18, United States Code, Section 1028A.
  2                The Court has previously accepted your guilty plea,
  3      Mr. Irizarry, and has adjudicated you guilty of these
  4      offenses. As I've indicated, we're here today for
  5      sentencing, however, before I impose sentence, I'm going to
  6      ask you a few questions, I'm going to ask questions of your
  7      Counsel and questions of Counsel for the United States. I'm
  8      also going to give you an opportunity to make a statement to
  9      the Court if you choose to do so.
 10                Before we start, just give me one moment to log on
 11      here in the courtroom.
 12                All right. The first question for you,
 13      Mr. Irizarry, is have you had an opportunity to review and
 14      discuss with your attorney the presentence investigation
 15      report?
 16                THE DEFENDANT: Yes, ma'am.
 17                THE COURT: Do you have any questions of the Court
 18      regarding that report?
 19                THE DEFENDANT: No, ma'am.
 20                THE COURT: That report contains a number of -- a
 21      lot of factual information, information designed to aid the
 22      Court in imposing a sentence that is sufficient but not
 23      greater than necessary to comply with the statutory purposes
 24      of sentencing.
 25                Other than any objections raised by your attorney

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  1      already, do you wish to make objections to the facts in the
  2      report?
  3                THE DEFENDANT: No, ma'am.
  4                THE COURT: The report also contains a calculation
  5      of the advisory sentencing guidelines range performed by the
  6      probation department. Again, other than any objections
  7      raised by your attorney, do you wish to make objections to
  8      that calculation?
  9                THE DEFENDANT: No, ma'am.
 10                THE COURT: All right. Thank you.
 11                Mr. Dominguez, have you had an opportunity to review
 12      and discuss the presentence investigation report with your
 13      client?
 14                MR. DOMINGUEZ: Yes, Your Honor, I have extensively.
 15                THE COURT: And do you wish to make an objection
 16      regarding the facts? I think I recall seeing at least one
 17      objection regarding the facts. If so, you may come to the
 18      lectern and make your objection at this time.
 19                MR. DOMINGUEZ: Yes, Your Honor. Your Honor,
 20      basically most of the facts and circumstances were handled
 21      by agreement of the parties.
 22                THE COURT: Make sure that you speak into the
 23      microphone since you are wearing a mask and that's required,
 24      so speak into the microphone so I can hear you.
 25                MR. DOMINGUEZ: Okay. Basically a lot of the

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  1      matters in the PSI were handled by the parties ahead of time
  2      by agreement. There was one item which is not which is the
  3      six level enhancement for the drug proceeds.
  4               THE COURT: We're not there yet. That's an
  5      objection to the calculation.
  6               MR. DOMINGUEZ: Yes, ma'am.
  7               THE COURT: I thought there was a dispute about the
  8      Government's reference or the -- or the reference to the
  9      Colombian drug trafficker and you said you've argued at
 10      least in your memorandum that he is not a drug trafficker
 11      and money launderer.
 12               MR. DOMINGUEZ: Yes, Judge.
 13               THE COURT: That he was someone who purchased, who
 14      actually smuggle merchandise into Colombia. Is there a
 15      factual objection regarding that?
 16               MR. DOMINGUEZ: Yes, there is. It goes to that same
 17      calculation. That's why I was referring to it. Yes, there
 18      is a factual --
 19               THE COURT: Let me just stop you. Listen to me.
 20      Don't interrupt me.
 21               MR. DOMINGUEZ: Okay. Sorry.
 22               THE COURT: Right now I'm only dealing with factual
 23      objections.
 24               MR. DOMINGUEZ: Right.
 25               THE COURT: When I finish the factual objections,

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  1      I'll deal with objections to the calculation of the
  2      guidelines, because as you know, I am required to first
  3      determine what the guidelines are. After I've made that
  4      determination, we'll then go to any issues with regard to
  5      mitigation and sentencing such as 3553(a) factors, et
  6      cetera, but so factually, I just need you to now address
  7      your factual objections to the presentence report.
  8               MR. DOMINGUEZ: Right. It's as to the reference of
  9      the gentleman as being a drug trafficker.
 10               THE COURT: And what is your contention with regard
 11      to that gentleman?
 12               MR. DOMINGUEZ: Basically his involvement in the
 13      illegal activity involved the smuggling of goods and
 14      services into Colombia for the purposes of evading Colombian
 15      taxes which is what he was doing.
 16               THE COURT: All right. So you would identify him as
 17      what instead of a drug trafficker?
 18               MR. DOMINGUEZ: He is a smuggler of goods I guess is
 19      basically what he is.
 20               THE COURT: Is this one that you were referring to
 21      as Co-conspirator No. 1 or Co-conspirator No. 2?
 22               MR. DOMINGUEZ: Judge, I think it's Co-conspirator
 23      No. 1. We're trying to avoid mentioning the name in open
 24      court.
 25               THE COURT: Right. That's what I said

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   1      co-conspirator, you mean No. 1 or Co-conspirator No. 2. One
   2      of them was apparently the Godparent of your client's
   3      children, twins.
   4                MR. DOMINGUEZ: It's that person.
   5                THE COURT: All right. Then that's Co-conspirator
   6      1.
   7                MR. DOMINGUEZ: Yes.
   8                THE COURT: You say that he is definitely -- that
   9      person is a smuggler.
 10                 MR. DOMINGUEZ: Yes.
 11                 THE COURT: Okay. Now, with regard to the
 12       calculation of the guidelines, do you wish to make
 13       objections to the probation officer's calculation of the
 14       guidelines?
 15                 MR. DOMINGUEZ: None other than, you know, the ones
 16       I made.
 17                 THE COURT: All right. You may make your argument
 18       at this time.
 19                 MR. DOMINGUEZ: Basically, Judge, the six level
 20       enhancement in this case is inappropriate because those
 21       proceeds were, in fact, not drug proceeds but rather
 22       proceeds from a DEA account as outlined in my objection.
 23                 THE COURT: Okay. And is that it?
 24                 MR. DOMINGUEZ: That's it. The contention are with
 25       those six levels, Judge. That's it.

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   1               THE COURT: Okay. All right. Thank you.
   2               Mr. Palazzo, have you had an opportunity to review
   3      the presentence investigation report?
   4               MR. PALAZZO: I have, Your Honor.
   5               THE COURT: You may return to your seat,
   6      Mr. Dominguez. Thank you.
   7               And do you have any objections as to the facts
   8      contained in the presentence investigation report?
   9               MR. DOMINGUEZ: I do not, Your Honor.
 10                THE COURT: Do you wish to make any objections as to
 11       the probation officer's calculation of the guidelines?
 12                MR. PALAZZO: It's not an objection, but --
 13                THE COURT: Well, actually it is because you said it
 14       should be two levels and probation says it's three levels.
 15       That would be an objection. That's with regard to role in
 16       the offense.
 17                MR. PALAZZO: Yes, Your Honor. The Government feels
 18       that if this case were to go to trial, we'd prove beyond a
 19       reasonable doubt that the Defendant was co-equals with most
 20       members of the conspiracy at the very least, but that he did
 21       manage one of the co-conspirators.
 22                THE COURT: That being his wife.
 23                MR. PALAZZO: Correct.
 24                THE COURT: All right. For purposes of the record
 25       we are looking at Paragraph 61, which is the adjustment for

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   1      role in the offense. Probation attributed three levels for
   2      that. It appears that the Government and the Defendant have
   3      agreed it should only be a two level increase and the
   4      argument is that because the Defendant only supervised one
   5      other individual. Is that correct, Mr. Palazzo?
   6               MR. PALAZZO: Yes, Your Honor.
   7               THE COURT: Anything else you'd like to say with
   8      regard to that, Mr. Dominguez?
   9               MR. DOMINGUEZ: No, Your Honor. It's accurate. The
 10       only person that he had any control or contact with where he
 11       had any authority was his wife, in fact.
 12                THE COURT: Okay. Then I will sustain the objection
 13       with regard to Paragraph 61, adjustment for role in the
 14       offense as I believe that the evidence has established by a
 15       preponderance of the evidence that indeed the adjustment
 16       should be a two level adjustment for the Defendant's role
 17       and not a three level adjustment, and so the evidence does
 18       indeed reflect that the Defendant directly oversaw or
 19       managed his wife who has already been sentenced with regard
 20       to this proceeding.
 21                All right. Are there any other objections by the
 22       United States?
 23                MR. PALAZZO: No, Your Honor.
 24                THE COURT: All right. Mr. Palazzo, you may come to
 25       the lectern and respond to the Defendant's objection.

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   1      Again, it's an enhancement so the United States has the
   2      burden of proof.
   3               MR. PALAZZO: Thank you, Your Honor. The facts
   4      today are best captured in the plea agreement that's signed
   5      by the Defendant.
   6               THE COURT: So is that what you will rely upon as
   7      the factual basis for your response to establish the
   8      enhancement?
   9               MR. PALAZZO: Yes, Your Honor. And in that it's
 10       Document 59 on the docket. On Page 27 of the document, the
 11       factual basis for the plea, the Defendant on Page 27
 12       Subparagraph B agreed and stipulated that he took official
 13       actions as a DEA special agent including the following
 14       violations of his lawful duty, Subparagraph B, falsely
 15       documented and causing DEA special agents to falsely
 16       document the true nature and source of wire transfer
 17       instructions involved in multiple undercover DEA money
 18       laundering investigations including in the investigation of
 19       a co-conspirator known to the DEA as a drug trafficker and
 20       money launderer in Colombia.
 21                Your Honor, I believe that that stipulated fact
 22       weighs in favor of the six additional offense levels being
 23       correctly recommended by probation.
 24                THE COURT: Okay.
 25                MR. PALAZZO: Furthermore, in the plea agreement the

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   1      Defendant has agreed not to argue about any facts today and
   2      has agreed that the facts in the plea agreement will not be
   3      disputed. So, with that, the Government recommends that
   4      those six offense levels be added to the guidelines.
   5               THE COURT: Is there a case law to support your
   6      argument?
   7               MR. PALAZZO: Yes, Your Honor. The Government is
   8      going to rely in terms of a legal argument on the papers
   9      that I filed prior to today. The Eleventh Circuit has not
 10       decided a case specifically where a Federal agent has been
 11       in this money laundering conspiracy directly on point, but
 12       when considering the sting provision in 1956, the Eleventh
 13       Circuit has found that it is enough for a Defendant to have
 14       actual knowledge or should have known that specific funds
 15       were tied to drug trafficking. The fact that the Government
 16       intervenes during the money laundering conspiracy has never
 17       been found in the Eleventh Circuit to sort of cut off those
 18       drug proceeds from being drug proceeds. I think that in
 19       Perez, the Eleventh Circuit found that essentially once drug
 20       proceeds always drug proceeds. They didn't go so far as to
 21       say that it would never be possible for Government
 22       intervention to eliminate the fact that drug proceeds
 23       continue to be proceeds, but in that case which didn't
 24       involve a Federal agent but involved a sting where funds
 25       were represented to be drug proceeds, the Court said that

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   1      those facts were more than sufficient and that here we have
   2      even stronger connections between the DEA agent's knowledge
   3      of the sources of funds and where they were going.
   4               Essentially, the Defendant was probably in no better
   5      position than anyone to know the source of the funds and to
   6      know where those funds were going, so for all those reasons
   7      going back to Perez, we believe that the Court should apply
   8      those six offense levels.
   9               THE COURT: All right. We're talking about United
 10       States Sentencing Guidelines Section 2S1.1. And is it your
 11       contention that both prongs of that guideline apply to this
 12       case?
 13                MR. PALAZZO: Yes, Your Honor. Because while the
 14       facts laid out in the plea agreement are that the Defendant
 15       received drug proceeds and then diverted them to his own
 16       accounts and for his own use, and so not only the receipt of
 17       those proceeds but then the use of those proceeds which he
 18       knows are source for drugs, they are also violative of the
 19       law and implicates that enhanced sentencing guideline.
 20                THE COURT: And the Defendant in his responsive
 21       memorandum attempts to distinguish Perez which is the United
 22       States versus Perez, 992 F.2d 295, Eleventh Circuit case
 23       from 1993, and, in fact, refers the Court to U. S. versus
 24       Breque, B-r-e-q-u-e, 964 F.2d 381 from the Fifth Circuit.
 25                Have you had an opportunity to review that case, and

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   1      if so, do you wish to comment on it?
   2               MR. PALAZZO: Yes, Your Honor. So I don't have the
   3      date in front of me, but the six level enhancement at one
   4      point at the time that this Breque case took place --
   5               THE COURT: The amendment? November 1991.
   6               MR. PALAZZO: That's right. When it went into
   7      affect, it actually expanded the definition and it went --
   8      it used to be that the enhancement required the Defendant to
   9      know that the proceeds were from drugs, and it was expanded
 10       to "knew or believed," and that was in specific reference to
 11       a sting. There's a sting provision in the money laundering
 12       statute 1956C I believe and that was essentially where the
 13       Government represents that funds were derived from drugs and
 14       the Breque case really hits that whether or not Congress had
 15       contemplated at the time this specific sting provision. And
 16       eventually they expanded it to sort of solidify that it did.
 17       And I think that Perez comes after that. And Perez says
 18       that they don't even sort of need the enhancement because
 19       they believe that Congress intended originally that knew,
 20       the word "knew" that drugs were involved. Also the intent
 21       of the "knew" resulted to include the word believe, so I
 22       don't think it's necessarily directly applicable here
 23       because I think just the plain reading of the enhancement
 24       and the plain reading of the facts. You know, this isn't a
 25       sting. Essentially, the Defendant was operating stings. He

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   1      was forwarding known drug proceeds derived from drug
   2      organizations and so he had the actual knowledge. It
   3      doesn't -- it doesn't even go -- it doesn't even reach --
   4      the Court doesn't need to reach legal impossibility. He had
   5      the actual knowledge. He had the actual contact with drug
   6      organizations at times or he collectively, the DEA group
   7      that he was working in, so.
   8               THE COURT: Are those facts also in the plea
   9      agreement or the presentence investigation report? Because
 10       there are -- I mean of course the presentence investigation
 11       report thoroughly identifies facts as well, and so while
 12       you've directed the Court to the plea agreement, I think
 13       that the factual basis is also in the presentence
 14       investigation report; is that correct?
 15                MR. PALAZZO: Yes. And the presentence report from
 16       what I can tell is the same factual basis that's in the plea
 17       agreement.
 18                THE COURT: And the Defendant argues basically that
 19       the Government's position in this case is misplaced because
 20       the nature of the bank account here, given the nature of the
 21       bank account and the use of the funds and that he relies on
 22       an OIG memo. What's your response to that argument?
 23                MR. PALAZZO: My interpretation of the Defendant's
 24       papers, he admits in there that the funds are commingled
 25       with other drug funds. The emphasis seems to be that

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   1      they're commingled therefore that triggers some sort of
   2      cutoff. I don't have any -- I don't find any authority
   3      saying that that is true, and the Defendant admits that the
   4      commingling is actually with other seized drug proceeds, so
   5      the Government sees it that any way you slice it, money that
   6      is being diverted out of those accounts that the Defendant
   7      controls, he knows, he has actual knowledge that whether
   8      commingled or not they're all derived from drug
   9      organizations, from investigations that are being run by the
 10       DEA, many of which he is directly involved in as the lead
 11       investigator or a key part of the undercover money
 12       laundering investigation. He is in the best position to
 13       know, so I don't think that the -- I can't find any
 14       authority saying that commingling with other drug funds
 15       would necessarily obviate the knowledge element found in
 16       that six level enhancement.
 17                So for those reasons the Government believes that
 18       the six level enhancement is appropriate and does recommend
 19       it.
 20                THE COURT: The other matter that you may respond to
 21       is the Defendant's argument as to the facts that CC1 was not
 22       a drug trafficker but instead a smuggler. I'm looking now
 23       at the plea agreement that you referenced before, Doc. 59,
 24       Page 27 and Paragraph B there, Subparagraph B. Is that the
 25       same person that we're talking about here? And if you look

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   1      at Subparagraph B --
   2               MR. PALAZZO: It is. I can represent to you that it
   3      is, but I'm not prepared to prove that to the Court today,
   4      but that was the intention of the Government when these
   5      papers were drawn up and when this agreement was made with
   6      the Defendant.
   7               THE COURT: And the reason I ask that, because my
   8      understanding is that he has agreed to the facts in the plea
   9      agreement, and so in the plea agreement the individual is
 10       also referred to as a drug trafficker and money launderer in
 11       Colombia although has now interposed an objection with
 12       regard to that categorization or label of that individual
 13       and says that instead he is only a drug -- only a smuggler.
 14                MR. PALAZZO: Yes, Your Honor. The Government would
 15       vigorously oppose that, that argument, and that is not what
 16       was agreed upon with the Defendant. The same individual is
 17       again mentioned on Page 32 of the agreement where the
 18       Defendant and two co-conspirators purchased a Land Rover, a
 19       2015 Land Rover for use by the Defendant and the
 20       co-conspirators with diverted DEA drug funds.
 21                Again, that is the same individual in question, and
 22       there's a further payment of $30,000. The last paragraph on
 23       Page 33 of the agreement mentions an undercover operation by
 24       the DEA whereby drug proceeds -- and I'm quoting, "drug
 25       proceeds picked up in the Netherlands, 30,000 of which were

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   1      wired to Spain on February 18th, 2015." This is continuing
   2      on Page 34, it was on behalf of a co-conspirator in
   3      Colombia.
   4               This again is the same, is the same individual that
   5      has been referenced all morning here and this representation
   6      that he is some sort of smuggler and not a drug trafficker
   7      was a surprise to the Government to see in the Defendant's
   8      papers and we don't believe that's true.
   9               If we were to go to trial, we would enter evidence
 10       otherwise, and, in fact, it's not in the agreement, but I
 11       would represent that that individual in question -- in fact,
 12       it is alleged in the indictment, it's not in the agreement,
 13       that individual was actually listed as the main target of a
 14       major investigation in a document that was written in part
 15       by the Defendant identified as a drug trafficker and money
 16       launderer in a priority target of the Miami DEA group of
 17       which the Defendant was a part, so the Defendant knows very
 18       well that that individual does more than just smuggle items.
 19                THE COURT: Okay. All right. Thank you. Was there
 20       anything more? You stopped, and so --
 21                MR. PALAZZO: No, thank you, Your Honor. I'm sad to
 22       say I'm having trouble seeing you through the fog in my
 23       glasses, and --
 24                THE COURT: Well, you know the trick to that is to
 25       put your glasses over the mask. I have gotten pretty good

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   1      at this in the year or so now that I have been doing it.
   2               MR. PALAZZO: Thank you, Your Honor.
   3               THE COURT: Mr. Dominguez, did you wish to say
   4      anything further with regard to your objection as to the six
   5      level enhancement?
   6               MR. DOMINGUEZ: Yes, Judge. If I may respond to
   7      that, a couple things. The agreement as stated is accurate
   8      as far as that person identified which was known to the DEA
   9      at that time, okay, but that was based on the information
 10       that they had at that time. It's accurate as to that. He
 11       was known, but the reality is that he is not. That
 12       individual met several times with the DEA, met with AUSAs
 13       and prosecutors and they accepted the version that he was
 14       not, and, in fact, was a smuggler of goods and that is the
 15       truth. That's the thing --
 16                THE COURT: Are you able to establish that for me
 17       today? I mean basically I'm looking at a plea agreement
 18       which your client has signed as being factually correct. I
 19       have nothing that contradicts or controverts that other than
 20       your argument that this person is not a drug trafficker but
 21       rather a smuggler.
 22                When I look at the signed document, Document 59, the
 23       plea agreement, he's referred to as a drug trafficker, and
 24       absent something to the contrary I'm going to overrule your
 25       objection to the facts labeling him a drug trafficker.

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   1               MR. DOMINGUEZ: He was referred to as known at that
   2      time, and I will call agent -- sorry. I'll call my client
   3      to testify to all the meetings that they had with this
   4      gentleman which I was present at by the way back then with
   5      the AUSAs that they know about, and I don't understand why
   6      they're saying something other than that now because they
   7      know that this, in fact, happened. It was in the Dominican
   8      Republic, but I will call Jose Irizarry.
   9               THE COURT: Before you do that, let me ask, does
 10       that make a difference with regard to the guidelines in this
 11       case? I don't think that it does. So I mean I'm happy to
 12       have you do that, and I'm going to resolve the issue, but I
 13       don't think it makes a difference with regard to the
 14       calculation of the guidelines.
 15                MR. DOMINGUEZ: Well, Judge, the only reason I say
 16       that, because that's the only thing they have to say, it's
 17       drug proceeds. The other thing is controlling case law.
 18       This is an OIG. This money coming from here is being
 19       misappropriated, which is what he did incorrectly here by
 20       Mr. Irizarry. This money was being picked up by agents all
 21       over the United States. This money was being utilized by
 22       the government and then that makes all the other people
 23       co-conspirators. There were prosecutors traveling with this
 24       money. There were other agents traveling with this money.
 25       They were going to dinners. They were having all sorts of

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   1      social events with this money. All this was going on with
   2      this money, so that would make all these members of the
   3      Government co-conspirators.
   4               The Government itself, the DEA was making a
   5      percentage of it for moving this money. That's the whole
   6      thing. This money was all documented. It was all
   7      controlled. It was all moved from that account. It's not
   8      like he had this pot of money just sitting out there and he
   9      was then moving it. This actually went into an account in a
 10       bank that was controlled exclusively by the Government.
 11                THE COURT: What about the gifts he got?
 12                MR. DOMINGUEZ: Those were gifts -- that's why we're
 13       dealing with the Diego issue here. The only person --
 14                THE COURT: That's why you're dealing with what?
 15                MR. DOMINGUEZ: The issue of the CS, the known
 16       person, because that's the only one they could claim,
 17       because that would be the only money that could have been
 18       clouded, but that comes from that gentleman who's, in fact,
 19       not a drug trafficker. He's not.
 20                THE COURT: Okay. Well, the evidence before me
 21       presently is that he is, reflects that he is.
 22                MR. DOMINGUEZ: That's why I'd like to call
 23       Mr. Irizarry to testify.
 24                THE COURT: All right. Mr. Irizarry, come to the
 25       stand, sir.

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   1               MR. DOMINGUEZ: Do you want him here?
   2               THE COURT: It depends on how long you think you're
   3      going to be.
   4               MR. DOMINGUEZ: It's going to take a few minutes.
   5               THE COURT: All right. Go to the witness stand.
   6      You're already under oath, so you've been sworn in already.
   7               All right. Mr. Dominguez, you may inquire.
   8               MR. DOMINGUEZ: Great. Thank you, Your Honor.
   9      Could we agree that we don't mention the person's name?
 10                MR. PALAZZO: That's fine, Your Honor, but just
 11       again before we get started, I do want to tell you that the
 12       Government's position is that all the money that we're
 13       talking about today in the account that I guess is going to
 14       be discussed I think the Defendant's already stipulated that
 15       it's drug money, so whether or not it's commingled or who
 16       put it in there or if the Defendant was responsible for
 17       putting it in there, our allegations and our facts before us
 18       today are about him taking them out, making material
 19       misrepresentations to divert those funds out for his own
 20       purposes, so regardless of the testimony we're about to hear
 21       today, I think it doesn't really matter as to the fact of
 22       whether those were drug proceeds in that account.
 23                THE COURT: And what are you relying upon? Again,
 24       for the record and what has to be established at sentencing
 25       hearings and Court has to have a factual basis for its

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   1      findings. What are the facts in the record that you're
   2      relying upon with regard to the drug money? You say your
   3      factual basis. Are you looking at the plea agreement,
   4      Document 59?
   5               MR. PALAZZO: Yes. Again, it's what I already
   6      pointed out in the plea agreement. This is sort of -- this
   7      account now is something separate, so even if what he's
   8      talking about, even with what he's talking about he shows
   9      that other people used it, I don't see how legally it can
 10       change the other facts in the plea agreement where he took
 11       money from drug Defendants or other CSs that were involved
 12       in drug organizations. This seems -- this seems to be just
 13       like a separate argument that even if the Defendant wins
 14       doesn't speak to the issue.
 15                THE COURT: Okay. Well, Mr. Dominguez has requested
 16       it. It is the Defendant's opportunity with regard to his
 17       sentencing hearing, and so I will allow some leeway and
 18       allow him to provide the testimony. I'm not sure, I'm not
 19       convinced right now that it's going to change the analysis
 20       as it relates to the guidelines, but I certainly will listen
 21       to the testimony that the Defendant intends to present.
 22                MR. DOMINGUEZ: Judge, I just want to clarify for
 23       the Court. The reason is we agreed to certain facts but we
 24       also agreed that I was reserving on this issue as far as the
 25       appellate waiver because we were specifically challenging

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   1      the nature of these proceeds, so wherever it put -- wherever
   2      he quoted the language regarding drug proceeds, I said, you
   3      know, we're contending you can use it in your language there
   4      but it's specifically pointed out that we don't agree with
   5      this.
   6               THE COURT: Where did you point that out? As you
   7      know, I didn't take the plea. The pleas in this division
   8      are accepted by the magistrate judges. So where is that?
   9               MR. DOMINGUEZ: It's on Page 23 of the plea
 10       agreement.
 11                THE COURT: This is Document 59, Page 23.
 12                MR. DOMINGUEZ: Yes. Document 59, Page 23, and it's
 13       the second part of the appellate waiver. Well, it's at the
 14       end. It goes -- it says grounds described in Section 1 on
 15       Paragraph 6 of the plea agreement, U. S. Guidelines
 16       2S1.1(b)(1)(i) should not apply as legal impossibility;
 17       provided, however, that the Government exercises its right,
 18       and then specifically that section there says that we're
 19       reserving the right to appeal that section because we do not
 20       agree with the application of the six levels based on legal
 21       impossibility.
 22                THE COURT: But this just says (b)(1)(i). Isn't
 23       there a (b)(1)(i)(2) -- I mean (b)(1) -- let me just get my
 24       guidelines.
 25                MR. DOMINGUEZ: It's 2S1.1.

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   1               THE COURT: Right. According to the appellate
   2      waiver provision of the plea agreement, and this is
   3      Paragraph 7, I'm looking at Paragraph 23, Subsection D, the
   4      ground described in Section 1, Paragraph 6 of the plea
   5      agreement that United States Sentencing Guidelines, Section
   6      2S1.1(b)(1) (i) should not apply as a legal impossibility.
   7      But there's also -- let's see. Okay. I see. I see what
   8      you did. I understand.
   9               MR. DOMINGUEZ: So specifically, you know, I didn't
 10       want to get into any "I got you" moment because that's what
 11       I love to do, here, you agreed to all of this, I got you.
 12       No. I specifically said in good faith, look, put this in
 13       there. You know this is what we're challenging. You know
 14       we're not agreeing to the nature of what you're describing
 15       here is drug proceeds, and we're going to reserve specific
 16       on this issue on the part of the legal impossibility.
 17                As to the funds coming out of that specific AGO
 18       operation, that specific account, it was exclusively
 19       controlled by the DEA. If he misdirected the funds or
 20       mischaracterized the funds thereafter, he committed theft.
 21       He misappropriated that money. He lied about what the money
 22       was being utilized for or where it was going. That's
 23       different than him knowing these are drug proceeds and
 24       knowingly moving drug proceeds because they were not. They
 25       were Government controlled, exclusively controlled

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   1      Government funds utilized by all sorts of individuals, other
   2      agents and the agency itself, so that's what we're saying.
   3                It's impossible based on the case law and the case
   4      law that's been cited because he knew that those funds were
   5      DEA funds, and that's what he was doing. Then the reason
   6      we're dealing with the Diego issue is we're saying, well,
   7      there were other funds that were utilized by him that he
   8      received and it's because that person is, in fact -- well,
   9      had been known to the DEA. It became clarified that he's,
 10       in fact, not a drug smuggler which is different in nature
 11       and that's what this testimony relates to which I am
 12       surprised the Government -- because they know. They have
 13       this evidence. The government has this evidence. They have
 14       to have this evidence because he met numerous times with
 15       Government people, and they know.
 16                 THE COURT: Who are you referring to, your client or
 17       to CC1?
 18                 MR. DOMINGUEZ: CC1 and the client and prosecutors
 19       and that's what I'm going to ask him about and, in fact, I
 20       was there so I know.
 21                 THE COURT: Okay.
 22                 MR. PALAZZO: Your Honor, I just want to note the
 23       Government's objection to entering new evidence today. On
 24       Page 8 of the agreement, I just want to draw the Court's
 25       attention to the Defendant agreeing not to introduce new

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   1      facts when arguing this legal issue specifically.
   2               THE COURT: Where is that in the agreement?
   3               MR. PALAZZO: Yes. Document 59 on Page 8 beginning
   4      at the top. The Defendant does not and will not dispute any
   5      facts in the factual basis section of this plea agreement
   6      but reserves the right to argue at sentencing without
   7      introducing new facts that USSG 2S1.1(b)(1)(i) does not
   8      apply to the calculation of the guidelines offense level
   9      because the Defendant requires -- believes it requires a
 10       legal impossibility in this case. Specifically the
 11       Defendant reserves the right to argue at sentencing that
 12       drug proceeds interdicted by the DEA during an undercover
 13       operation cannot continue to be proceeds for the purpose of
 14       the enhancement.
 15                And it goes on to further narrow the argument that
 16       the Defendant is allowed to make before the Court
 17       referencing that United States Breque case that we discussed
 18       earlier. It's very narrow the window that he's allowed to
 19       argue here today, and I would hope that the Court would hold
 20       the Defendant to that agreement.
 21                MR. DOMINGUEZ: Judge, as the Court can see, it's
 22       clear that we don't agree to those funds, the money coming
 23       out of the funds. That's a given. So the only issue was
 24       Diego.
 25                THE COURT: First of all, I'm sorry. Before you get

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   1      there, I need you to respond to the argument just made. I'm
   2      looking at Document 59, Page 8, and it does indeed say the
   3      Defendant does not and will not dispute any facts in the
   4      factual basis section of this plea agreement but reserves
   5      the right to argue at sentencing without introducing new
   6      facts that United States Sentencing Guidelines, Section
   7      2S1.1(b)(1)(i) does not apply to the calculation of his
   8      guidelines offense level because the Defendant believes it
   9      requires a legal impossibility in this case. And then so if
 10       you'll respond to that, then you can continue your argument.
 11                MR. DOMINGUEZ: I agree that we agreed to that. I
 12       agreed that it points out clearly what we had agreed to and
 13       the report we're disputing and that's it.
 14                THE COURT: So then am I about to hear new facts
 15       from your client contrary to this agreement?
 16                MR. DOMINGUEZ: It's clarifying the agreement and
 17       the definition of the "known to" the DEA. Because it has to
 18       do with that person, the CS1 that's being described as known
 19       as being a drug smuggler when in reality he is not. The
 20       truth has to amount for something. The truth matters.
 21                Under Brady if they have that information, they
 22       should be the first ones up here saying, Judge, you know
 23       what? This is what we thought at the time. It's not
 24       accurate. He's actually not that. This is the truth.
 25       That's what they should be doing because that is the truth

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   1      and it's exculpatory evidence that they have an affirmative
   2      duty to turn over if they have that and should be the ones
   3      arguing it up here. Not me. They should be the first ones
   4      up here saying, you know what? We thought he was, but he's
   5      not. That's what they should be doing.
   6               THE COURT: Response, Mr. Dominguez.
   7               MR. PALAZZO: Mr. Palazzo.
   8               THE COURT: I'm sorry, Mr. Palazzo.
   9               MR. PALAZZO: No. The Government has fulfilled all
 10       its Brady obligations and takes them very seriously and the
 11       Government if it had any information that should stop these
 12       proceedings would turn it over, I can assure the Court of
 13       that. These proceedings have been a long-time coming,
 14       almost a year since the guilty plea. This is the first that
 15       I have heard in the papers that were filed on the last week
 16       on the 17th after the original sentencing was postponed
 17       three times. This is the first that I have heard that
 18       apparently there is new information about the co-conspirator
 19       that he would like to enter into evidence for consideration
 20       today. I don't know of any of it to be true at all and, in
 21       fact, we would dispute that fact.
 22                THE COURT: So, Mr. Dominguez, with whom did you
 23       meet, did you and your client meet with regard to this
 24       issue? Apparently not the persons present in the courtroom
 25       today.

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   1               MR. DOMINGUEZ: Well, actually that's -- they've
   2      known about this since before the plea almost a year ago, I
   3      would say not a year ago but at least ten months ago about
   4      this issue, about this description of this person, because
   5      we've met with them and debriefed.
   6               THE COURT: Them. Who are you talking about? I
   7      just asked you who is them? I mean I'm looking at three
   8      individuals in the courtroom today.
   9               MR. DOMINGUEZ: Every single person in here except
 10       for the news reporter just about, Judge. I mean Mr. Palazzo
 11       was there and all the agents were there. We've discussed
 12       all this. This is a matter that's been discussed
 13       extensively with them, absolutely. But like I think it was
 14       ten months ago, nine months ago, absolutely, this is not new
 15       and who --
 16                THE COURT: So is it -- Mr. Palazzo, is it that the
 17       Government does not agree that that was the role? I guess
 18       what I'm baffled with, folks, is that I have a
 19       representation that this person is not a drug trafficker.
 20                MR. DOMINGUEZ: Right.
 21                THE COURT: But rather was a smuggler of goods in to
 22       Colombia. And that that information has been provided to
 23       the Government, that Mr. Palazzo is aware of it, I guess
 24       Mr. Irish and I guess the agent who's here also are all
 25       aware of this as you all were present at some meeting. Am I

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   1      misinterpreting what I'm hearing today?
   2               MR. PALAZZO: Is this to the Government, Your Honor?
   3               THE COURT: It is.
   4               MR. PALAZZO: The Government knows that the
   5      individual in question smuggled a lot of things including
   6      drugs. This idea that suddenly -- because I guess plea
   7      discussions that are being referred to which normally we
   8      don't discuss in open court, that smuggling activity was
   9      told to the Government. Not once does the Government have
 10       any idea or have any thought that this is exclusive to
 11       non-drug smuggling.
 12                The Government's position, and if the Government
 13       were to proceed at trial, it would be to introduce evidence
 14       that that individual smuggles lots of things including
 15       drugs, and the Government got a lot of these ideas from
 16       documents that the Defendant put together while he was a DEA
 17       agent. A lot of this information about the drug trafficking
 18       came from the Defendant, so now -- I'm just as baffled as
 19       the Court, Your Honor, as to why any discussion of non-drug
 20       smuggling is suddenly proof that the person was also not
 21       involved in drug activity. I don't know if that's what
 22       brother counsel here is trying to get across but that's
 23       certainly not the case, and I'm just as surprised as you
 24       are, Your Honor.
 25                THE COURT: Mr. Dominguez.

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   1               MR. DOMINGUEZ: Judge, it's just so incorrect
   2      because it's not. It's not accurate. The person is not a
   3      drug trafficker, and that's the problem and they don't have
   4      any evidence of that. What we agreed to that he had been
   5      known to, and it was Agent Irizarry that had generated some
   6      of those reports known at the time, and later on had to
   7      clarify that it was not accurate.
   8               THE COURT: Where did he clarify it?
   9               MR. DOMINGUEZ: With them when we were negotiating
 10       this entire thing, and we've met with them and told him
 11       absolutely during proffers, this person is not this, he is
 12       this. This person met with AUSA Garofallo in the Dominican
 13       Republic and a group of other agents in the past.
 14                The actual target, the CS actually met with the
 15       Government. Of course they could claim they don't know
 16       about it because they didn't search for this, but they have
 17       it. They did meetings. I was present in the meeting at the
 18       Dominican Republic with the U. S. Attorneys and the agents
 19       when that occurred.
 20                MR. PALAZZO: Your Honor, if I may, the issue before
 21       the Court today is whether the proceeds that are documented
 22       in the factual basis for the plea were drug proceeds. We
 23       believe that the Defendant had that knowledge. Whether or
 24       not there were other proceeds from other drug cases that
 25       were commingled is somewhat superfluous today. The

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   1      Defendant has already agreed through extensive facts that he
   2      was involved in protecting drug traffickers and he was paid
   3      for that, and the Government's contention is that he was
   4      paid with drug proceeds, but even if somehow he was paid
   5      with other proceeds, the fact that he was being paid to help
   6      a drug trafficking organization is promotional money
   7      laundering as well, so, again, any way you slice it, the
   8      facts that have already been stipulated to demonstrate that
   9      the six level enhancement should be enforced.
 10                I would also just go back to the Eleventh Circuit --
 11                THE COURT: Well, before you argue, I'm going to
 12       allow the testimony for the record. Apparently this is an
 13       issue that the Defendant has carved out of his appellate
 14       waiver so that to the extent he wishes to appeal this issue
 15       the Appellate Court will have the testimony that his client
 16       would have given.
 17                I recognize that the plea agreement does state that
 18       no new facts can be introduced, but for purposes of an
 19       appeal and so that his record is perfected, you may inquire
 20       of your client.
 21                MR. PALAZZO: The Government would just want to note
 22       an objection.
 23                THE COURT: Surely. And I'll give you an
 24       opportunity to cross-examine his client. Go on.
 25                MR. DOMINGUEZ: Yes, thank you, Your Honor, very

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   1      much.
   2                         JOSE IRIZARRY
   3   having been first duly sworn under oath, was examined and
   4   testified as follows:
   5                            DIRECT EXAMINATION

   6   BY MR. DOMINGUEZ:
   7         Q     Mr. Irizarry, when did you first become aware of
   8      this person referred to as CS1?
   9               THE COURT: So that we are all on the same page
 10       because we're not using names, the PSR refers to the
 11       individual as UCC1, so let's use that terminology.
 12                MR. DOMINGUEZ: UCC1, I'm writing it down, Your
 13       Honor.
 14    BY MR. DOMINGUEZ:
 15          Q     UCC1, that person, when did you become aware of
 16       them?
 17          A     Around --
 18                THE COURT: I can't hear you, sir. You're going to
 19       have to speak up, speak into the microphone.
 20                THE WITNESS: Sorry, Your Honor. The exact date I
 21       don't know. Probably 2010, 2011, sir.
 22    BY MR. DOMINGUEZ:
 23          Q     Speak up a little bit.
 24          A     2010, 2011.
 25          Q     And what was -- how -- what was your position at the

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   1      time?
   2         A     I was a DEA agent in Group 4 in Miami.
   3         Q     And how did you become aware of this person?
   4         A     We were at the time starting a money laundering case
   5      and he was -- he came about because a confidential source in
   6      Colombia brought up his name.
   7         Q     He was at the time targeted for what specifically?
   8         A     At the time he was when we started and when he was
   9      subject in the case, it was a money launderer.
 10          Q     Was there also belief that he was involved in drug
 11       trafficking at the time?
 12          A     At the time there was several reports that he was
 13       associated with a group in Colombia the North Valley Cartel
 14       and that he was -- there was reporting that he had been --
 15       he was using one of the drug routes.
 16          Q     And did there come a time when you started to meet
 17       with this person?
 18          A     Yes, sir, I did.
 19          Q     And was that person, in fact, signed up as a source
 20       of information?
 21          A     At one point he was.
 22          Q     And did that person also meet with other agents?
 23          A     Yes, sir, he did.
 24          Q     And when he met with him, did you do an extensive
 25       interview regarding his background?

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   1         A     Yes, sir, we did.
   2         Q     And based on the extensive interviews that you did
   3      with his background and all the evidence that you had, what
   4      determination did you make as far as what his position was
   5      regarding criminal activity?
   6         A     That he was a high level contraband smuggler into
   7      Colombia.
   8         Q     And was this information shared with any AUSAs?
   9         A     Yes, sir, it was.
 10          Q     And which AUSA was investigating and working with
 11       this source?
 12          A     Several. AUSA Garofalo, Andy Hoffman, AUSA Monique
 13       Botero and at some point Dustin Davis.
 14          Q     And all these people were prominent AUSAs out of the
 15       Miami office?
 16          A     Yes, sir, they were.
 17          Q     And, in fact, some were even supervisors; correct?
 18          A     Yes, sir.
 19          Q     And did they determine whether or not with your
 20       discussions with them, did they determine whether or not
 21       Diego was, in fact, a drug trafficker?
 22          A     It was always determined that he was a high level
 23       money launderer and he helped the Government in
 24       investigations related to that subject.
 25          Q     But was he, in fact, involved in drug trafficking?

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   1         A     I never knew that he was, never saw any evidence
   2      that he was.
   3         Q     And what about the AUSA, did they comment on that?
   4      What was your understanding of his position?
   5         A     That he wasn't.
   6         Q     And again this is AUSA Botero, Garofalo?
   7               MR. PALAZZO: Objection, Your Honor. I assume the
   8      rules of evidence are in play and hearsay is not allowed.
   9               THE COURT: Hearsay in particular, and I shouldn't
 10       say the rules of evidence, but hearsay is admissible at
 11       sentencing hearings.
 12    BY MR. DOMINGUEZ:
 13          Q     So Hoffman, Botero.
 14          A     Garofalo.
 15          Q     Garofalo?
 16          A     At some point Dustin Davis.
 17          Q     All these AUSAs met with and interviewed UCC1?
 18          A     Garofalo, Botero, I think Dustin Davis -- Dustin, he
 19       met with his attorney but not Diego himself and Andy Hoffman
 20       I do not believe met him directly, just with the attorney.
 21          Q     And he was running the investigation for you at the
 22       time?
 23          A     Yes. At the time she was, and then it went through
 24       Dustin and then Garofalo and Botero.
 25          Q     You got clearance from these AUSAs to sign this

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   1      person up as a source?
   2         A     Yes, sir, I believe he was originally signed up by
   3      another agency, I believe it was ICE working with us, and
   4      then we did it. I don't remember if we did it first and
   5      then ICE. At some point I think it was us first, then ICE,
   6      but I don't remember exactly.
   7         Q     Was he, in fact, found useful and credible?
   8         A     He helped the Government, yes.
   9         Q     Was he credible?
 10          A     Yes, sir.
 11          Q     And this is the person referred to as UCC1 and then
 12       you originally thought and agreed that he was targeted for
 13       potential drug trafficking but it became known, in fact,
 14       that he is not; is that correct?
 15          A     That is correct.
 16                MR. DOMINGUEZ: I have no further questions.
 17                THE COURT: Thank you. Cross-examination.
 18                             CROSS-EXAMINATION
 19    BY MR. PALAZZO:
 20          Q     Mr. Irizarry, you mentioned that there was reporting
 21       that UCC1 was using drug routes; is that right?
 22          A     That was the first time when I met him that was the
 23       reporting.
 24          Q     And what does that mean? Can you tell the Court?
 25          A     It was -- there was a cooperating Defendant.

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   1         Q     You know, what does using a drug route mean?
   2         A     Cooperating Defendant was saying that he was -- he
   3      had inherited the drug routes. Do you want me to go into
   4      names, the person he was?
   5         Q     No. Generally when someone --
   6         A     All right. So cooperating Defendant was claiming
   7      that he was using the drug routes left by a defunct person
   8      in the North Valley Cartel.
   9         Q     And what is the North Valley Cartel generally in
 10       summary here for the Court?
 11          A     North Valley Cartel was morphed after the Cali
 12       Cartel was eliminated. They were mainly in the North Valley
 13       which is Cali, Armenia, Manizales. And they were a drug
 14       organization that led at the time by a guy name Wil Varela
 15       and they were moving drugs to the United States and to
 16       Europe. And when I met CS1, they --
 17                THE COURT: Excuse me, UCC1.
 18                THE WITNESS: Sorry, sorry. When I met UCC1, a
 19       cooperating Defendant for the Government, was advising that
 20       UCC1 had inherited the routes of a person that was defunct.
 21       We interviewed UCC -- we interviewed the cooperating
 22       Defendant that was advising this and it was determined by
 23       AUSA Adam Fels who was at the time had the case that that
 24       person was not truthful. So when I said that that's the
 25       1 -- so I meant UCC1 based on that information that he had

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   1      inherited the routes but that information was deemed not
   2      credible by AUSA Adam Fels and at the time that's what led
   3      us to be able to sign UCC1 up as a confidential source.
   4         Q     And how long was he a confidential source?
   5         A     Excuse me, sir?
   6         Q     How long was he a confidential source, UCC1?
   7         A     It was a --
   8         Q     It was a very short period of time; is that right?
   9         A     He signed up with DEA short. I don't know how long
 10       he was with ICE, and I don't know how long he was -- when he
 11       was signed up with DEA office in Cartagena, but yeah, but
 12       with DEA it was very short. I don't know a time that he was
 13       signed up with ICE, though.
 14          Q     Mr. Irizarry, did you at one point write a proposal
 15       to initiate a major investigation targeting UCC1?
 16          A     I didn't write the proposal. It was written by
 17       another Agent George Sombraros [ph.] but, yes, that
 18       information was used at the time, and it wasn't correct, but
 19       it was -- this is how we -- when I say we, this is how I
 20       worked or the Group 4 worked in Miami.
 21                At the time in order to get approved for an AGEO
 22       which is what everybody or at least we wanted which was an
 23       operation that we would be able to launder, use, fund to
 24       pick up money, use the commissions to self fund our group
 25       and our office, we had to put -- link a drug trafficker or

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   1      somebody to the writeup and we chose --
   2         Q     UCC1?
   3         A     We chose UCC1 and it was not accurate. Whatever was
   4      written there was not correct, and it was done for the sole
   5      purpose of getting approved for an AGEO and that same system
   6      was used.
   7         Q     Mr. Irizarry, just focus on my questions. My
   8      question was, did you open and initiate a major
   9      investigation into UCC1 and you said yes; is that right?
 10          A     Yes, sir.
 11          Q     And as part of that initiation, you identified UCC1
 12       as a major drug trafficker; is that right?
 13          A     Yes, sir. And the AUSA knew that he was because he
 14       was with us at the meeting.
 15          Q     And specifically associated with the North Valley
 16       Cartel which you've identified today as a major drug
 17       organization in the North Valley of Colombia; is that right?
 18          A     That is correct. And it was all not true. It was
 19       done for the sole purpose of getting AGEO approved.
 20          Q     And then that investigation where you identified
 21       UCC1 as a major drug trafficker with the North Valley
 22       Cartel, that, in fact, is one of the investigations that you
 23       diverted drug proceeds from; is that right?
 24                MR. DOMINGUEZ: Object to the characterization,
 25       Judge. We don't agree they were drug proceeds.

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   1               THE COURT: Overruled. You may answer the question.
   2               THE WITNESS: I don't think there were drug
   3      proceeds.
   4   BY MR. PALAZZO:
   5         Q     Right. But in your plea agreement when we -- when
   6      you stipulated to facts where we used the word drug proceeds
   7      and you agreed that you diverted them for your own purposes,
   8      that investigation that you initiated on UCC1 was one of
   9      those investigations that you diverted drug proceeds from;
 10       is that right?
 11          A     We used the money that went into the AGEO account,
 12       that money after it was into our AGEO account, it was
 13       like -- we used it like operational funds, so once the money
 14       hit there --
 15          Q     I'm asking you about the --
 16          A     I do not believe they were drug proceeds, but, yes,
 17       I used them, yes, sir.
 18          Q     And those are some funds that are discussed in the
 19       plea agreement, is that right, the factual basis for the
 20       plea agreement?
 21          A     Yes, sir.
 22          Q     Where you said that you misrepresented things in
 23       reports. You kept other agents from investigating the
 24       subject of your investigation. That investigation into UCC1
 25       was one of the primary investigations that you diverted

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   1      funds from; is that right?
   2         A     Yes, sir.
   3         Q     And you characterized them in your writeup to
   4      initiate the case as drug proceeds?
   5         A     Yes, sir, because that is what we had to do in order
   6      to get the AGEO approved.
   7               MR. PALAZZO: No further questions, Your Honor.
   8      Thank you.
   9               MR. DOMINGUEZ: If I may follow up briefly, Your
 10       Honor.
 11                THE COURT: Yes.
 12                MR. DOMINGUEZ: Thank you, Your Honor.
 13                            REDIRECT EXAMINATION
 14    BY MR. DOMINGUEZ:
 15          Q     At the end of the day, Mr. Irizarry, UCC1 was, in
 16       fact, not a drug trafficker; correct?
 17          A     That is correct, sir.
 18          Q     And the information that was provided in order to
 19       target him as a drug trafficker was found to be provided by
 20       a person that was not truthful by AUSA Adam Fels; is that
 21       correct?
 22          A     That's correct.
 23          Q     And in reality you knew at the time that those funds
 24       were being received that the money received from UCC1 was,
 25       in fact, not drug proceeds because he, in fact, was not a

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   1      drug trafficker; is that correct?
   2         A     That is correct.
   3               MR. DOMINGUEZ: Thank you. No further questions,
   4      Your Honor.
   5               THE COURT: Mr. Irizarry, you may return to your
   6      seat. Any additional argument? We were discussing the
   7      issue of the weather UCC1 was correctly identified in the
   8      presentence investigation report as a drug trafficker as
   9      that was the basis for the objection. Anything else on
 10       that?
 11                MR. DOMINGUEZ: No, Judge. I would briefly proffer
 12       that there is, in fact, memorandum generated by the Miami
 13       office calling that source as untruthful and it was provided
 14       to a judge, a Federal judge advising the Court that that
 15       person that provided the information was untruthful and
 16       these are all things readily in the possession of the
 17       Government. If they chose not to look for it, that's on
 18       them.
 19                THE COURT: Why didn't you discuss this with
 20       these --
 21                MR. DOMINGUEZ: We have.
 22                THE COURT: -- these attorneys?
 23                MR. DOMINGUEZ: I have, Judge, months and months and
 24       months ago. We have met for hours and hours and days,
 25       Judge. We have --

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   1                THE COURT: The memo that you're talking about
   2      you've shown to --
   3                MR. DOMINGUEZ: No, it's not because it's sealed,
   4      but they can get it because their office generated it. It's
   5      sealed. I'm not allowed to get a copy of it but they told
   6      them all about this stuff. They've known all this, Judge,
   7      for at least ten months. We've met for days on these
   8      issues.
   9                MR. PALAZZO: Your Honor, it's unclear to me what
 10       issue the Defendant is putting forth, but I sort of dispute
 11       all of what I've heard so far, if I understand correctly.
 12                 THE COURT: Do you know anything about a memo to a
 13       Federal Judge where the --
 14                 MR. PALAZZO: No, Your Honor.
 15                 THE COURT: -- the Government has indicated that
 16       UCC1 was indeed not a drug smuggler?
 17                 MR. PALAZZO: No, Your Honor. And I believe -- no,
 18       Your Honor. And what I believe the Defendant is saying is
 19       that a separate cooperating Defendant in another case years
 20       back may have made statements to the Defendant that then
 21       another office I guess determined it didn't want to move
 22       forward on charging a case. This is what I surmise just
 23       from hearing this today. UCC1 is not the person they're
 24       talking about. They're talking about a third person saying
 25       something about UCC1 and then I guess the prosecutor's

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   1      office that heard this didn't act on it. I didn't hear
   2      anything about UCC1 not being a drug trafficker, simply that
   3      a third-party made an accusation.
   4               THE COURT: That's what Mr. Dominguez just said, but
   5      you and I are hearing different things.
   6               MR. DOMINGUEZ: Judge, I think he understands what
   7      I'm saying, because at the end of the --
   8               THE COURT: Perhaps I don't.
   9               MR. DOMINGUEZ: Right. The Miami office never
 10       proceeded against UCC1 because they found the information
 11       categorizing him as a drug trafficker was not trustworthy.
 12       That's what was conveyed to the agent in this case. And
 13       Mr. Palazzo here is aware of it because I know he's looked
 14       into that, because if he's looking into UCC1 he knows that
 15       that office never proceeded against him because the
 16       information was found not to be credible.
 17                THE COURT: Never proceeded against --
 18                MR. DOMINGUEZ: That's what I'm telling --
 19                THE COURT: Never proceeded against the other
 20       Defendant or never proceeded against UCC1?
 21                MR. DOMINGUEZ: Against UCC1. The other Defendant
 22       gave the information. They didn't trust it. They didn't
 23       proceed. They know. We've told them for months.
 24                MR. PALAZZO: Your Honor, I don't know that, but
 25       what he's putting forth is not dispositive of UCC1 being a

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   1      drug trafficker simply because the Defendant is representing
   2      that a separate cooperating Defendant said something about
   3      UCC1 that apparently, and I don't know this to be true, but
   4      apparently another prosecutor's office didn't act on.
   5               I just want to draw the Court's attention back,
   6      though, to the issue at hand today. The money that's
   7      discussed in the plea agreement is not necessarily entirely
   8      from UCC1. He's not the only drug trafficker that the
   9      Defendant dealt with, and the Defendant admits that funds
 10       from UCC1 were in an account that was commingled with other
 11       drug proceeds and he admits that he diverted and used and
 12       misused funds from that account. That means that he was
 13       spending --
 14                THE COURT: Wait. Wait. And you are relying upon
 15       the factual basis of the plea agreement to support your
 16       contentions?
 17                MR. PALAZZO: Yes, Your Honor.
 18                THE COURT: I just want the record to reflect the
 19       factual basis for your argument.
 20                MR. PALAZZO: Yes, Your Honor.
 21                THE COURT: You may continue.
 22                MR. PALAZZO: And then as far as this other issue --
 23                THE COURT: Well, you can continue with what you
 24       were talking about. You were talking about the fact that
 25       there were -- UCC1 was not the only person that was a drug

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   1      trafficker, that there were others, and that the Defendant
   2      had acknowledged such in the factual basis for the plea
   3      agreement.
   4               MR. PALAZZO: That's right. And that's why the plea
   5      agreement, the factual basis for the plea agreement is
   6      written in broad terms because the elements of the crime
   7      don't require the drug dollars to be pinned to a specific
   8      drug dealer. He had knowledge and he had the intent to move
   9      and to use drug dollars, and that's -- that's the end of the
 10       story. He agreed that he would make a legal argument today,
 11       a very narrow legal argument about impossibility. And I
 12       think we should go back to that, and the fact that the
 13       Eleventh Circuit, not just in Perez, but in United States
 14       versus Magluta which is from 2005, was discussing undercover
 15       drug money being misused by a Defendant. And the Eleventh
 16       Circuit found just the plain language reading of it and drew
 17       an analogy to stolen property cases and said that "laundered
 18       money does not become any less laundered because the
 19       Government helped the process along but chose not to stop
 20       it." It then goes on to say that "maybe it's somehow would
 21       be possible in certain circumstances but they weren't in the
 22       case at hand."
 23                I think that carries the day in terms of adding the
 24       six offense levels in the sentencing guideline
 25       recommendation and that's why we're here today.

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   1               THE COURT: Briefly, Mr. Dominguez.
   2               MR. DOMINGUEZ: Briefly, Judge.
   3               THE COURT: It's the Government's burden so
   4      ultimately the Government will have the final argument with
   5      regard to the enhancement.
   6               MR. DOMINGUEZ: Judge, he's obfuscating the facts,
   7      because the reality is in the plea agreement it's very, very
   8      clear, abundantly clear, that the funds and money that come
   9      from the AGEO, that account we never agreed to drug
 10       proceeds. It's clear. It's in the plea agreement. It's
 11       documented in several portions including the appellate
 12       waiver which is -- so, given that part. Now, the other
 13       prong would be the other drug traffickers, none of which are
 14       mentioned in the plea agreement, the only drug trafficker
 15       supposedly was that UCC1 and we know as a matter of fact it
 16       is incorrect and inaccurate.
 17                THE COURT: You know what, folks? I'm sorry, but
 18       what is really frustrating to the Court right now is that,
 19       first of all, we're using, other than the individual's
 20       names, UCC1 but, again, I keep getting these arguments about
 21       the plea agreement, the plea agreement. Where in the plea
 22       agreement? I need citations. Okay? I don't want to hear
 23       argument because there are too many moving targets in this
 24       argument in this case.
 25                MR. DOMINGUEZ: Right.

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   1               THE COURT: So what I need everybody to do is when
   2      you're making argument, I need you to have your plea
   3      agreement. I need you to refer me to the page, the line,
   4      the paragraph, whatever, that can be used to identify,
   5      because that, number one, that's the best way to do it
   6      anyway so that the appellate record is perfected, but more
   7      importantly, given the nature of the argument that you're
   8      putting before the Court and the fact that we're talking
   9      about other Defendants UCC1, UCC2, no. I need to know where
 10       in the plea agreement you are relying upon facts that you
 11       say support a position or the other because I'm getting
 12       different arguments from Counsel which I rarely get based
 13       upon what a plea agreement says.
 14                It's quite unusual for everybody to be looking at
 15       the same document and I have two different arguments with
 16       regard to what it says. That's why I need you to show me
 17       exactly what in the plea agreement you are referring to.
 18                Did you find the provision that you were referring
 19       to, Mr. Palazzo?
 20                MR. PALAZZO: Yes, Your Honor. Starting on Page 25
 21       of the plea agreement which is Document 59, the Defendant
 22       and his co-conspirator engaged in an illegal scheme to
 23       misappropriate, launder and spend at least 9,000,000 in drug
 24       proceeds while the Defendant was a special agent with the
 25       DEA. Later on on Page 27 is the paragraph I already cited

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   1      talking about making false documentations in order to help a
   2      co-conspirator known to the DEA as a drug trafficker and
   3      money launderer in Colombia.
   4               On the next page, Page 28, it was further part of
   5      the scheme that the Defendant used his position as a DEA
   6      special agent secretly to divert drug proceeds from
   7      Government control to the personal control of himself and
   8      his co-conspirators without Government authorization.
   9               On Page 33, again, I mentioned this before, but in
 10       2015, the Defendant caused DEA agents through Tampa, Florida
 11       to unwittingly file official investigative reports that
 12       contain material falsehood and omissions and conceal the
 13       true nature and location, source, ownership and control of
 14       drug proceeds picked up in the Netherlands. Then it goes on
 15       to describe how a portion of those proceeds, $30,000 wired
 16       to Spain.
 17                On Page 35, beginning in approximately January of
 18       2015, the Defendant utilized drug proceeds diverted from
 19       active DEA investigations through victim one's account to
 20       buy himself and his Co-Defendant a home in Cartagena,
 21       Colombia.
 22                For those reasons, Your Honor, I think there's a
 23       robust record that the Defendant has stipulated to showing
 24       that he indeed knew that he was laundering drug proceeds and
 25       therefore the six offense level enhancement is appropriate

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   1      and recommended by the Government.
   2                THE COURT: Okay. Thank you.
   3                MR. DOMINGUEZ: Judge, there is no such stipulation.
   4      It's clear. Referring to --
   5                THE COURT: Wait, wait, wait. There's no such
   6      stipulation with regard to what the facts of the plea
   7      agreement are?
   8                MR. DOMINGUEZ: Yes, Judge.
   9                THE COURT: Is that your argument?
 10                 MR. DOMINGUEZ: Yes. Page --
 11                 THE COURT: Don't I see the Defendant's initials on
 12       each page of the factual basis of the plea agreement?
 13                 MR. DOMINGUEZ: Yes, Judge.
 14                 THE COURT: And does that not mean anything to you?
 15                 MR. DOMINGUEZ: Of course it does, Judge.
 16                 THE COURT: So then why do you say there's no
 17       stipulation?
 18                 MR. DOMINGUEZ: Document 59, Page 8, the plea
 19       agreement, "the Defendant does not and will not dispute any
 20       of the factual basis in the section of the plea agreement
 21       but reserves the right to argue at sentencing without new
 22       facts."
 23                 THE COURT: Right. So that means that you agree to
 24       the facts in the plea agreement.
 25                 MR. DOMINGUEZ: Right. Except the way they

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   1      characterize -- or else this means nothing, because we're
   2      saying that it's -- he's characterizing it as drug proceeds.
   3      We're saying they're not drug proceeds because it's legally
   4      impossible. That's what that paragraph specifically refers
   5      to.
   6               THE COURT: What's the paragraph again you're
   7      referring to?
   8               MR. DOMINGUEZ: It's Page 8 of the plea agreement at
   9      the top, and it's saying that we do not agree that these are
 10       drug proceeds because it's legally impossible, and it cites
 11       specifically the case of United States versus Breque, 964
 12       F.2d 381, Fifth Circuit, 1992, and it's because we're saying
 13       it's legally impossible for these to be drug proceeds
 14       because they are not. They are from a DEA account, so
 15       everywhere he refers to as drug proceeds, we're saying here
 16       that we obviously didn't agree with the title of it being
 17       drug proceeds.
 18                And then we refer to it as well in the appellate
 19       waiver section which I cited earlier where we reserve the
 20       right to appeal the issue of it being drug proceeds. But
 21       anyway, that's the meaning of that paragraph.
 22                It's clear that we never agreed to that, and we say
 23       that it's legally impossible as part of a DEA ongoing
 24       undercover operation and it cannot continue to be drug
 25       proceeds under 2S1.1, and that paragraph clarifies

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   1      everything he says that we agree to. Yeah. We agree to
   2      those facts but we did not agree to the characterization of
   3      it as being drug proceeds, because otherwise this paragraph
   4      here would not mean anything. We put this in specifically
   5      to point out we're challenging the nature of it being called
   6      drug proceeds under a specific case law and under the
   7      guidelines.
   8               THE COURT: So although -- I don't understand why
   9      you would agree to a factual basis that labels them drug
 10       proceeds?
 11                MR. DOMINGUEZ: Because what we compromised, and
 12       Mr. Palazzo knows, I said, okay, you can call it -- you can
 13       call it pink money. I don't care what you call it, but as
 14       long as you know that I'm not agreeing to it because it is
 15       legally impossible, and that's why we put the paragraph in.
 16                So in order to be able to get this thing
 17       accomplished and done, you can call it whatever he wants to
 18       as long as it's clear in that paragraph, I'm saying it is
 19       legally impossible for them to be under this case law, and
 20       if it's legally impossible, it doesn't matter who agrees to
 21       it, Judge. It's legally impossible, period. It's illegal.
 22                I could agree to it all day long. If it is, in
 23       fact, not drug proceeds by the nature of the proceeds, then
 24       it's not. It's irrelevant who agrees to it. So we left the
 25       language the way it was. This was negotiated that way, and

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   1      then I inserted that specific carve out into the appellate
   2      waiver as well to make sure, listen, we're not agreeing that
   3      these are drug proceeds because under the case law it is
   4      legally impossible, period.
   5               THE COURT: But you don't have any case law that
   6      says that. The cases you've cited to me don't state that.
   7               MR. DOMINGUEZ: Judge, the case that I'm referring
   8      and I'm relying on that case, specifically Breque. This is
   9      the same one. United States v. Breque, 964, the Fifth
 10       Circuit, 1992. That's specific -- that case does support
 11       our position where the person -- those funds by the very
 12       nature were not drug proceeds.
 13                THE COURT: But you're now in the Eleventh Circuit.
 14                MR. DOMINGUEZ: Exactly. This is persuasive because
 15       the Fifth --
 16                THE COURT: When -- what year was Breque? Was it
 17       before the Eleventh Circuit was created?
 18                MR. DOMINGUEZ: No, it was not, Judge. It's after.
 19       But it was -- we were part of the Fifth and then there was a
 20       case dealing with Breque but it was distinguished because it
 21       was before the amendment, so, and then the Magluta case is
 22       completely -- which they cite is completely nonapplicable in
 23       this case. This is the more direct case right on point
 24       saying once these funds go into a specific controlled
 25       account or come out of an account by the Government, they

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   1      themselves are not drug proceeds, otherwise, whenever
   2      anybody uses funds out of that account they would be money
   3      laundering. Other agents, other -- everybody using it for
   4      travel, for funding, buying cars and all those things,
   5      everybody would be money laundering that they would be using
   6      money that's always drug proceeds no matter what. Once they
   7      go into that DEA account and it's controlled by the DEA,
   8      that's it, it's over. It doesn't -- it ceases to be drug
   9      proceeds, and that's why everybody else can go ahead and use
 10       it for their travel, for their investigations, to buy
 11       laptops, to buy cellphones, all those things they did with
 12       that money and then they document it and they submit an
 13       inventory and every dollar that comes out of the account is
 14       accounted for. So that's what we agreed to, Judge. That's
 15       what's in writing. And, you know, I thought that he was
 16       trying to pull an "I got you" moment like that. He knows
 17       from specifically day one that we never, never ever agreed
 18       that those were, in fact, drug proceeds, and that's the
 19       truth.
 20                THE COURT: Okay. Final comments from the
 21       Government.
 22                MR. PALAZZO: Yes, Your Honor. With regards to
 23       Breque that was prior to the enhancement being amended, and
 24       I think that Magluta up in the Eleventh speak directly, you
 25       know, in contrast to that cited case. And --

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   1               THE COURT: Which one did you just cite?
   2               MR. PALAZZO: United States versus Magluta,
   3      M-A-G-L-U-T-A. It's from 2005.
   4               THE COURT: Okay. Yes, I have it. Uh-huh.
   5               MR. PALAZZO: And on Page 27 of the plea agreement
   6      there is a discussion of all the kickbacks are outlined that
   7      the Defendant received and admitted that he received, and in
   8      Subparagraph B, the Defendant took official actions as a DEA
   9      special agent including the following violations of his duty
 10       in return for bribes and kickbacks.
 11                Subparagraph B discusses doing things on behalf of a
 12       drug trafficker, so aside from all the other references to
 13       drug proceeds that are in the plea agreement here, we have
 14       an example of a quid pro quo payment for official actions on
 15       duty from a drug trafficker. I think a reasonable inference
 16       can be made there that someone's being paid by a drug
 17       trafficker with drug proceeds and is being paid to promote
 18       the activities of a drug organization. That fits all the
 19       element of money laundering. Aside from diverting payments
 20       for himself from investigations that we've heard about
 21       today, that's one way that the Court can add the six level
 22       enhancement, but here I'm pointing out another. The receipt
 23       of kickbacks from a drug trafficker is another form of
 24       laundering drug proceeds, and for those reasons the six
 25       level enhancement should be recognized and enforced.

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   1               THE COURT: Are you referring to UCC1 as the drug
   2      trafficker or just an unknown? Because the plea agreement
   3      is not specific. I'm looking at Paragraph B on Page 27
   4      including in the investigation of a co-conspirator known to
   5      the DEA as a drug trafficker and money launderer in
   6      Colombia.
   7               When I look at Paragraph C, and it refers things
   8      that the Defendant delivered to the Defendant's
   9      co-conspirators rather than directly to associates of
 10       targeted drug trafficking organizations. So are you
 11       specifically relying upon UCC1 or just other co-conspirators
 12       who you contend were drug traffickers?
 13                MR. PALAZZO: I am contending all of the above.
 14       It's not meant to exclusively be a reference to UCC1. We
 15       refer to un-indicted co-conspirators in the indictment. We
 16       went out of our way not to do that here so as not to limit
 17       these facts to specific individuals because the defendant's
 18       conduct was so prolific.
 19                MR. DOMINGUEZ: Judge, I don't know what he's
 20       proffering but that refers to the UCC1, and that's the only
 21       one they have.
 22                MR. PALAZZO: I'm --
 23                MR. DOMINGUEZ: If he saying that in good faith, let
 24       him tell you who he's talking about.
 25                MR. PALAZZO: I'm referring to the plain language of

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   1      the document, Your Honor.
   2               THE COURT: Okay. You know what? Counsel, we're
   3      going to be in recess for ten minutes.
   4   (Recess had at 11:41 a.m.)
   5   (Court in session at 11:57 a.m.)
   6               THE COURT: All right. Counsel, I am terribly
   7      troubled by this plea agreement and the issues that have
   8      been raised before the Court today. I'm going to continue
   9      this sentencing hearing. I'm not even certain at this point
 10       that I'm going to accept the plea agreement. If I don't
 11       accept the plea agreement and I know that the agreement says
 12       that if it is not accepted by the Court, neither the United
 13       States nor the Defendant will be allowed to withdraw from
 14       the plea agreement and the Defendant will not be allowed to
 15       withdraw his plea of guilty. If I don't accept it, I may
 16       allow the Defendant to withdraw his plea of guilty and we
 17       may find ourselves in a trial.
 18                This is totally unacceptable to the Court. I don't
 19       understand how you have a plea agreement which has specific
 20       facts that talks about drug proceeds, then you have another
 21       provision that says except that I don't agree that it's drug
 22       proceeds. Well, if you don't agree that it's drug proceeds,
 23       you don't sign the factual basis which says it is drug
 24       proceeds.
 25                There are just a number of problems. I have Defense

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   1      Counsel calling the Government out as violating Brady. I
   2      mean it's just -- I'm not going to go forward today. I'm
   3      going to do some independent research, look at these issues
   4      further, and I'll issue a written order.
   5               I very well may not accept the plea agreement, but
   6      you will be notified by whatever actions I take at a
   7      subsequent hearing. I would suggest that you all go
   8      somewhere and sit down in a conference room and see if you
   9      can resolve these issues because it is -- I've never ever
 10       seen anything like this with regard to a plea agreement.
 11                You know, the parties agree and that's why I asked
 12       how do you sign a plea agreement that says drug proceeds and
 13       then you carve them out? No. You don't agree to it. If
 14       you don't believe they're drug proceeds, you just don't
 15       agree to it. And the testimony that I heard even though the
 16       agreement says, again, that the Defendant would not
 17       interject new facts, Defendant comes in today and wants to
 18       interject new facts into this, so it's really been something
 19       else is the kindest way I could describe what has occurred
 20       this morning in this proceeding.
 21                And so I'm going to continue the hearing and any
 22       further actions that I take, you'll be notified via CM/ECF.
 23       Is there anything else before we conclude today's
 24       proceeding?
 25                MR. DOMINGUEZ: Nothing from the defense, Your

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   1      Honor. Thank you.
   2               THE COURT: I truly think you all need to talk about
   3      these issues because there was some serious allegations made
   4      in this courtroom this morning that cause me deep concern.
   5      And I mean, like I said, I'm not even sure at this point I'm
   6      going to accept this plea agreement, so we all may be
   7      looking at a trial in this case. All right. We are
   8      adjourned.
   9   (Court adjourned at 12:01 p.m.)
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   1   UNITED STATES DISTRICT COURT )
   2                                      )
   3   MIDDLE DISTRICT OF FLORIDA         )
   4
   5               I, SHARON A. MILLER, Official Court Reporter for the
   6      United States District Court, Middle District of Florida, do
   7      hereby certify that pursuant to Section 753, Title 28,
   8      United States Code that the foregoing is a true and correct
   9      transcript of the stenographic notes taken by computer-aided
 10       transcription taken in the above-entitled cause by the
 11       undersigned and that the transcript format is in conformance
 12       with the regulations of the Judicial conference of the
 13       United States.
 14    /S/Sharon A. Miller, CSR, RPR, CRR, FCRR
 15    Official Court Reporter
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   1   UNITED STATES DISTRICT COURT )
   2                                      )
   3   MIDDLE DISTRICT OF FLORIDA         )
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 15    Official Court Reporter
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